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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 IN RE THE HAIN CELESTIAL GROUP INC.                      No. CV 16-4581 (ADS) (SIL)
 SECURITIES LITIGATION
                                                          NOTICE OF APPEAL



        NOTICE IS HEREBY GIVEN that Lead Plaintiffs Rosewood Funeral Home and

 Salamon Gimpel, individually and on behalf of the Class, appeal to the United States Court of

 Appeals for the Second Circuit from the Memorandum of Decision & Order, dated and entered

 on April 6, 2020 (ECF No. 122), and Judgment, dated and entered on April 7, 2020 (ECF No.

 123), that dismissed the Second Amended Consolidated Class Action Complaint for Violations

 of Federal Securities Laws in its entirety and with prejudice.


 Dated: May 5, 2020                                   Respectfully submitted,

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